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EXHIBIT C_
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Brian Kehler * August 18, 2015

 

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF WYOMING

Alodie Gooden, as Wrongful )
Death Representative of the ) Videotaped
Estate of Tanya Gooden and ) Deposition of:
Cameron Gooden,
) BRIAN KEHLER
Plaintiff, )

VS. )

) Civil Action No.
Bridgestone Americas Tire ) 15-cv-45
Operations LLC; Fed Ex Ground)
Package System, Inc.; and)

John Doe Corporations/ —)

Entities 1-3, )

)
Defendants. )

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF WYOMING

Gina Cubillos, as Wrongful }
Death Representative of the )
Estate of James Ednie, —)

)
Plaintiff, )

)
vs, ) Civil Action No.
} 15-ev-50
Bridgestone Americas Tire )}
Operations LLC; Fed Ex Ground)
Package System, Inc.; and)
John Doe Corporations! )
Entities 1-3, )

)
Defendants. )

APPEARANCES
FOR PLAINTIFF GINA CUBILLOS:

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P.O. Box 1938

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FOR DEFENDANT BRIDGESTONE AMERICAS
TIRE OPERATIONS LLC:

CHAD LIEBERMAN, ESQ.

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FOR FED EX GROUND PACKAGE SYSTEM, INC., THE WITNESS,
and CLR TRANSPORTATION:

LOYD E, SMITH

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Cheyenne, Wyoming 82001

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les@murane.com

 

 

VIDEOTAPED DEPOSITION OF
BRIAN KEHLER
August 18, 2015 - 9:13 a.m.
Location: Offices of CitiCourt

236 South 300 East
Salt Lake City, Utah

Reporter. VICKY McDANIEL, CSR, RMR

 

FOR THE WITNESS:
SEAN J. GAMBLE, ESQ.
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VIDEOGRAPHER: Ryan Reverman, CLVS

 

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Brian Kehler * August 18, 2015

 

 

 

 

 

5 7
1 INDEX 1 PROCEEDINGS
2 BRIAN KEHLER PAGE 2 THE VIDEOGRAPHER: We are now on the
; Examination by Mr. Kline 8 3 record. The time is approximately 9:13 a.m. This is
5 Examination by Mr. Lieberman 132 4 the videotaped deposition of Brian Kehler in the
Examination by Mr, Fitzgerald 237 . . .
6 Examination by Mr. Smith 288 5 matter of Gooden versus Bridgestone Americas Tire
7 Further Examination by Mr. Kline 292 8 Operations, LLC, et ai., being held at the offices of
8 Further Examination by Mr. Fitzgerald 294 7 CitiCourt, LLC, in Sait Lake City, Utah, on August
9 8 18th, 2015.
it NUMBER EXH Pana IPTION PAGE 9 My name is Ryan Reverman, certified legal
12 32 Photo of truck cab with items circled 132 4 videographer with the firm of CitiCo urt. The court
43 33 Photo of truck cab with a device 142 reporter is Vicky McDaniel, also with the firm of
circled 12 CitiCourt.
14 13 Counsel will now state their appearances
34 Invoice from Redbone Diesel dated 147 14 for the record, and the witness will be sworn.
15 S274 15 MR. KLINE: Steve Kline on behalf of the
, 35 Commercial Tire invoices dated 8/26/14 148 16 Ednie family and Gina Cubillos.
36 Sapp Bros. Invoice dated 8/27/14 155 47 TZ LD: Jim Fitz id behalf
18 37 Sapp Bros. Invoice dated 8/30/14 158 MR. FITZGERALD: Jim Fitzgerald on beha
19 38 FleetNet invoice dated 10/1/14 162 18 of the Gooden family.
20 39 Invoice from Sapp Bros. dated 10/28/14 171 19 MR. LIEBERMAN: Chad Lieberman for
21 40 Invoice from Redbone Diese! dated 179 20 Bridgestone Americas Tire Operations.
> 11/5/44 21 MR. SMITH: Loyd Smith for FedEx Ground
41 Documentation for trip to Salt Lake 184 ms and non-parties Brian Kehler and CLR Transportation.
23 leaving 11/7/14 MR. GAMBLE: Sean Gamble for Brian Kehler.
24 42 Driver's Log for Steven Marks, 11/7/14 190 24 MS. RHODES: Diana Rhodes for Brian
25 25 Kehler.
6 8
1 EXHIBITS (Continued) 1 BRIAN KEHLER,
; M8 Gongle map DESCRIPTION 271 PAGE 2 called as a witness, being first duly sworn, was
4 44 Portion of a police report 226 3 examined and testified as follows:
5 45 Supplemental Report by Kristin 227 4 EXAMINATION
6 Wetherbee dated 11/12/14 5 BY MR. KLINE:
46 Driver Vehicle Inspection Reports 233 6 Q. Can you please give us your name and
7 7 address. :
3 47 onotographs of truck at the accident 251 8 A. My name is Brian Douglas Kehler. | live
9 48 Driver's Logs for Brian 257 9 at 581 Grove Drive, Alpine, Utah 84004.
0 Kehler10/29/14-11/08/14 10 Q. And Mr. Kehler, | introduced myself off
49 Driver's Logs for Brian Kehler, 259 1 the record. We all did. Now that I'm the sole
11 10/8/14-10/28/14 12 person asking questions to start with, I'll
12 50 poeta Kehler, 260 13 _ reintroduce myself again. I'm Steve Kline. I'm an
43 14 attorney out of Cheyenne.
51 Onthe Road Reference Guide 287 15 And there are two combined lawsuits that
“4 52 Testing materials 287 16 we're here regarding. Obviously you're familiar with
15 17 those, | represent Gina Cubillos, who is the
53 Driver's Logs for Steven Marks, 289 18 personal -- wrongful death personal representative of
\ 10/29/14-11/08/14 19 the -- for the Ednie family, which is one half of
18 20 those claims. Okay?
» 21 I'll ask you when we start here, have you
21 22 ever had a deposition taken before?
22 23 A. No, ! haven't.
24 Q. Have you ever testified in a court
25 25 proceeding?
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Brian Kehler * August 18, 2015

 

 

 

 

 

 

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1 Q. The number that you had from back in 1 A. Correct.

2 November? 2 Q. And during the two years plus that you

3 A. Correct. 3 worked for Mr. Rodwick, did you take vacations?

4 Q. Have we covered all of the training you 4 A. Yes.

5 received from either FedEx or any of the independent 5 Q. Sol'm trying to figure out how much --

6 contractors who you worked for who were involved with 6 how many of these runs you would make, typically.

7 FedEx? Have we covered all the training that any of 7 And you can break it down any way you want --ina

8 them did with you? 8 month, six months, a year.

9 A. Pretty much, yeah. | agree. 9 A. Before vacation?
10 Q. And since hiring on for FedEx, tell me 10 Q. Yeah. And we'll throw vacations in there
11 your schedule as far as runs, how frequently you 1 whenever you want to talk about those. :
12 would make runs, how much rest you would have 12 A. Well, | would just have my normal time
13 between. |’m just trying to get an idea of what you 13 off, you know, the two days in between the runs. And
14 do every year as far as work. 14 then probably -- it would be around 4th of July that
1 A. Okay. | would start out on Tuesday. | 15 | would start requesting a week off and to go ona
16 leave Tuesday and | would run to Willington, 16 vacation, you know, get away from the monotony.
7 Connecticut. 17 Q. And how many days off did you take a year?
18 Q. What's the name of that town in 18 Other than obviously there's the two-day downtime --
19 Connecticut? 19 A. Uh-huh.
20 A. Willington. 20 Q. -- between the Des Moines trip and the
21 Q. I'm assuming that's near Hartford 21 next Hartford trip —
22 somewhere? 22 A. Uh-huh.
23 A. No. That's near the Massachusetts line. 23 Q. -- correct?
24 Q. Okay. 24 A. Right.
25 A. It’s 20 miles northeast of Hartford. We 25 Q. Other than that --

{22 124

1 would go there and pick up the next Set of trailers 1 A. Yeah.

2 and head back, get back on Friday night and then get 2 Q. -- I'm trying to understand, you know,

3 up Saturday and go to Des Moines, lowa and return on 3 when you would take time off, how much time you would

4 Sunday night. 4 take.

5 And then the following week would Seave on 5 A. | would take a week off, a full week.

6 Wednesday -- 6 Q. So you're working 51 weeks a year?

7 Q. Let me stop you there for a second. You 7 A. That would be pretty accurate. |

8 would leave Des Moines on Sunday, or you actually 8 Q. And you did that for two and a half years.

9 returned to Salt Lake on Sunday? 9 Did | get that right?
10 A. Both. 10 A. That's pretty accurate.
14 Q. Both. Okay. 11 Q. And during that period of time you thad the
12 A. Right. 12 very same schedule once you picked up Mr. Marks of
13 Q. And then would you rest from Sunday till 13 going and doing a Hartford and back run, and then a
14 Wednesday morning? 14 Des Moines and back run, and then starting over again
15 A. No. 15 after two days rest?
16 Q. No. 16 A. Correct.
7 A. We would come back Sunday. 7 Q. And did you ever have a partner other than
18 Q. Okay. So let me rephrase it. You would 18 Mr. Marks on this -- once you picked up Mr. Marks?
19 rest from Monday until Wednesday? 19 A. No.
20 A. Correct. 20 Q. And did anyone else drive that tractor --
21 Q. Okay. And you'd go pick up a load on 21 the tractors that you were driving other than you and
22 Wednesday? 22 Mr. Marks?
23 A. Correct. 23 A. | want to back up a little bit, if |
24 Q._ And start over again as far as driving to 24 could.
25 Hartford? 25 Q. Sure.

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Brian Kehler * August 18, 2015

 

 

 

 

 

 

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1 A. One - one time | had another driver 1 shirt. Always wore a FedEx shirt.

2 because he was sick, and | had a fill-in that | had. 2 Q. Did you have a FedEx -- anything else? A

3 Otherwise it's Steve. 3 bali cap? A jacket? A --

4 Q. So you only had a fill-in for Mr. Marks on 4 A. Jacket, rain jacket. The cold:months I'd

5 one occasion that you recall in that period of tine? 5 wear jeans and, you know, long-sleeve shirts.

6 A. Thatl can recall. 6 Q. And FedEx allowed you to wear shorts?

7 Q. And so each of the trips to outside of 7 A. Yes.

8 Hartford and Des Moines started here in North Salt — 8 Q. Did they regulate your appearance? |

9 North Salt Lake, correct? 9 mean, what did they require of you appearance-wise,
10 A. Correct. 10 FedEx?
1 Q. And tell me physically what you did to get 11 A. Well, it's not a requirement to wear FedEx
12 your next assignment. You know what -- do you 12 clothes. The contractors supplied the uniform for
13 understand what I'm asking? 13 the drivers. | can tell you that other contractors
14 A. What would I do physically to get my next 14 automatically get them for you, where like Chris, |
15 assignment? 45 asked for it.

16 Q. Right. | get ~| take it every Wednesday 16 Q. Have you ever seen a FedEx driver driving
17 you knew to show up to get a haul to Hariford? 17 down the road in a FedEx truck for an independent
18 A. Correct. 18 contractor who didn't have any identification

19 Q. And what would you -- walk me through what 19 clothing, anything that said FedEx on it?
20 you did to get that assignment. 20 A. Just like this shirt?
21 A. Well, | would - on -- for the Des Moines 21 Q. Yes.
22 run? 22 A. Absolutely.
23 Q.. And the Hartford run, both of them. 23 Q. How frequently do you see that?
24 A. Okay. | would park my car in the parking 24 A. Pretty frequently.
25 lot, and | would go through the gate, swipe my card| 25 Q. Do you know what the contract between

126 128

1 to be allowed to come in. And then -- 1 Mr. Rodwick and FedEx says about clothing?

2 Q. And that's your FedEx |.D.? 2 A. No, | don't.

3 A. Exactly. 3 Q. Did you ever -- did FedEx ever front you

4 Q. Okay. 4 any money for business expenses or --

5 A. Then! would go to Linehaul and tell them 5 A. No.

6 my truck number, and they would pull up the paperwork 6 Q. Okay. You look shocked by that question,

7 for the truck number, what's assigned, and give me 7 A. tam. :

8 the load and the trailer numbers. And then | would 8 Q. Did they ever -- did you ever pay for

9 go out and fetch them and then bring back the 8 anything that was invoiced to FedEx that you had to
10 paperwork -- 10 pay back? :
1 Q. I'msorry. | missed that. You would go 14 A. Pay back? Can you rephrase that?
12 out and what? 12 Q._ I'mjust -- did you ever pay for anything
13 A. Fetch them. 13 that FedEx paid you back for? ,
14 Q. Fetch them, okay. So FedEx assigned you 14 A. | have paid for items out of my own pocket
15 the routes? 15 that | got reimbursed from Chris and from other
16 A. Correct. 16 contractors out of my own pocket.
17 Q. And they assigned you the trailers you 17 Q. But not FedEx?
18 were to haul? 18 A. Not for me personally. Maybe by Steve. |
18 A. Correct. 19 mean, we had an incident that -- for the trailer that
20 Q. Did you know in each instance what you 20 had a broken -- it's a plastic -- where the plug goes
21 were hauling? 24 in -- where the electric line goes in and this
22 A. Never. 22 housing is busted. So we had to purchase that at a
23 Q. Okay. How were you dressed? 23 truck stop in Laramie. So therefore, that's FedEx.
24 A. J usually wore -- depends on the season. 24 But we had to pay for it -- or he did, and then he
25 On nice days I'd wear probably shorts and FedEx 25 got reimbursed.

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Brian Kehler * August 18, 2015

 

 

 

 

 

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1 A. Correct. 1 A. Correct.
2 Q. And! won't go through every month, 2 Q. Allright.
3 obviously, but those go back ~ your personal logs go 3 Tell us about the Linehaul facility. When
4 back for a couple of years. Do we understand that 4 you -- when you show up to go drive freight for
5 correctly? 5 FedEx, what building do you go to?
6 A. Correct. 6 A. It's the main building that -- it's
7 Q. Okay. So we know about the skinny little 7 connected. The building's all connected. It's on
8 book. We know about logs. We know you have FedEx 8 the north end of the warehouse, and that's where |
9 clothing at home. What else do you have at home that 9 would go, on the north end of the building.
10 relates to the work you did for FedEx? 10 Q. What is it connected to?
1 A. That's surely it. 1 A. It's connected to the packaging -- not --
12 Q. [want to make sure that we're clear on 12 transferring warehouse with the conveyor belts where
13 getting the maintenance done on the truck. Earlier 13. they back up the trailers and local trucks that they
14 in the deposition | believe | heard you say that -- 14 would sort, and they would be dispersed into said
15 and you can correct me on any of my questions, but | 15 vehicles and trailers.
16 believe | heard you say that when you take a truck, a 16 Q. Okay. When you go into the Linehaul
17 FedEx truck, in at the end of your work, it goes to 17 building, what do you see?
18 the FedEx yard and it stays there until you get back? 18 A. | see -- when | walk in, off to my right
19 A. That's correct. 19 is a sitting area. You want to have lunch, there's
20 Q. Okay. And we also understand that at some 20 soda machines, vendors, Off to my -- then there's
21 point it sounded like you were saying that Redbone 21 bathrooms, and off to my immediate left is the
22 could have gone over, gotten your truck, and taken it 22 dispatch area. If you go down the hall a little bit
23 to their shop? 23 and take a left, there's the computers and the door
24 A. That's correct. 24 that goes into dispatch area.
25 Q. Okay. 25 Q. Inthe building that — that encloses what
246 248
4 A. I've used them a couple times. 1 you just described, is there more? { mean, is there
2 Q. Allright. So we need to understand, 2 something beside Linehaul, or is that all there is in
3 under what circumstances can Redbone just go get your 3 that building? :
4 truck? 4 A. There's a administration building that’s
5 A. Under the circumstance that | allow -- 5 on the west side of the building. And off to the
6 allow them. 6 northwest side of the building, not connected, is a
7 Q. So you would be talking to Redbone and -- 7 repair shop.
8 or who would initiate the conversation, for example? 8 Q. How many people are working in:the
9 A. lwould. I would go over there and tell 9 Linehaul area, typically?
10 them that if they would do an oil change on it. 10 A. I don't know.
11 Q. And would -- is Redbone authorized to come 11 Q. 1! mean, is it like six or eight, or 50 or
12 and take your truck without you knowing about it? 12 more?
43 A. No. 13 A. Putting boxes in the --
14 Q. How do you get your truck back? 14 Q. No, no. | mean, when you --
18 A. They drive it back over. 15 A. Oh. Oh, okay.
16 Q. Okay. Do you have to leave your keys 16 Q. -- when you walk in --
17 there at the FedEx building? 17 A. Okay.
18 A. No. You leave them in the truck. 18 Q._ -- and dispatch is on one side and there's
19 Q. Okay. And the truck is inside a gated 19 a break area on the other.
20 facility, correct? 20 A. There's usually two dispatchers. The
21 A. Correct. 21 manager's in the back in his office, and there's
22 Q. Chain link fence all around? 22 another couple offices with another couple people and
23 A. Correct. 23 some clerks and the log girl who does the logs.
24 Q. So you have no hesitation to leave your 24 That's about it.
25 keys there? 25 Q. Okay. And in the administration part of
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265 267
1 Q. You're the first one to move the truck? 1 Q. Another -- another crew consisting of
2 A. fam. 2 someone such as yourself and Mr. Marks, correct?
3 Q. All right. When you took the truck to 3 A. No. It would be a singular.
4 Warner, for example, for maintenance, what did you do 4 Q. Oh. Asolo driver?
5 while they were maintaining it? Did you wait there, 5 A. Correct.
6 or did you drop the truck off and come back later? 6 Q. And explain that for us, please.
7 A. I|didn't take the truck to Warner -- 7 A. He has four solo drivers and one team.
8 Q. Okay. 8 Q. Okay. And why would a truck ever be
9 A. - for maintenance. 8 turned over from a team to a solo?
10 Q. All right. Did the truck ever go to 10 A. Because the road truck puts on.so much
1 Warner -- the tractor, pardon me, did it ever go to 14 miles that every couple years you turn it over to the
12 Warner for maintenance? 12 next man below, whatever truck needs to be taken off
13 A. No. | -- | would have gone to Sapp Bros. 13 the road, that's the oldest, has the most mileage,
14 Q. Would anybody besides you have taken the 14 most wear. And the team, such as my case, would get
15 truck to Warner for maintenance? 15 the fresh truck, the fresh used truck.
16 A. Not that ! know of. 16 Q. Okay. And who is Mike Hays [sic], again?
17 Q. Okay. When it -- when it went to Sapp 17 You said somebody would get the fresh truck. Who --
18 Bros., what was your routine? Did you say, you know, 18 A. That would be who's next in fine that
19 “Here | am; I'm going to go over to the cafe and have 19 has --
20 a bite to eat and I'll be back in an hour?” What did 20 Q. Oh.
21 you do? 21 A. - the oldest or most mileage, worn-down
22 A. Right. I'd go in there and line up the 22 truck. That would be pulled off line, and this would
23 oil change, or if | had any repairs or to get some 23 replace that truck.
24 tires, and then J would go over to the restaurant and 24 Q. At the time of this incident that brings
25 I'd wait there. Then I'd come back right before 25 us all together here, was this the oldest, most worn
266 268
1 they'd finish and -- 1 truck?
2 Q. And wait? 2 A. The one that I was driving?
3 A. Yeah. 3 Q. The 125417.
4 Q. Inthe -- in their waiting area? 4 A. No.
5 A. Yes. 5 Q. Do you know which one was more worn?
6 Q. Okay. Did anybody besides you and 6 A. Not without looking at the numbers of the
7 Mr. Marks ever drive this tractor during the period 7 trucks.
8 between August 26, 2014 and the day of the wreck? 8 Q. You're just sure there was one --
9 A. I don't know. g A. Yes.
10 Q. Did you tell the highway patrol that this 10 Q._ -- that was more worn?
14 truck was about to be given to anather crew? 1 A. Yes.
12 A. [don't remember that. 12 Q. Have you ever heard of a thing-called
13 Q. Is it even plausible that this truck was 13 Linehaul contractor orientation?
14 about to be given to another crew? 14 A. Linehaul contractor orientation?
15 A. It's plausible. 15 Q. Yes.
16 Q. Okay. Tell us what that would mean. Does 16 A. That's unfamiliar to me.
17 that mean you'd be assigned to another truck for the 17 Q. When you first started hauling freight for
18 future? 18 FedEx Ground, were you given -- how -- how did you
19 A. Correct. 19 learn the FedEx way?
20 Q. So somebody else would take it over 20 A. As | described earlier, | learned like a
24 entirely? 21 shotgun wedding. You come aboard, you take your
22 A. Correct. 22 test, you file the application, you do your drug
23 Q. Let me be more clear. Somebody else would 23 test, and you do a road test. And they gave youa
24 take over this particular tractor entirely? 24 little bit of shotgun about hooking up, and then you
25 A. Correct. 25 go with a driver that has been doing it and you learn
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REPORTER'S CERTIFICATE

; IT, Vicky McDaniel, Certified Shorthand
Reporter in and for the State of Utah, do hereby
certify:

That prior to being examined, the witness,
BRIAN KEHLER, was by me duly sworn to tell the truth,
the whole truth, and nothing but the truth;

That said deposition was taken down by me
in stenotype on August 18, 2015, at the place herein
named and was thereafter transcribed, and that a true
and correct transcription of said testimony is set
forth in the preceding pages.

I further certify that, a request having
been made to review the transcript, a reading copy
was sent to Mr. Smith for the witness to read and
sign and then return to mé for filing with Mr. Kline.

I further certify that I am not of kin or
otherwise associated with any of the parties to said
cause of action and that I am not interested in the
outcome thereof.

WITNESS MY HAND this 31st day of August,
2015.

Lidl NaNa O

met aniel,
Notary Fublic
Residing in Salt Lake County

 

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